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Exhibit B


The ESU Women’s Soccer team prepared a letter and sent it to the administration.

Letter has been provided in the email as well. Hannah Woolery is/was a team captain.

This is the response from the Athletic Director. He did not respond to their letter until 11/21/2023 which
is 2 days after the complaint was made. Timing seems very very odd.

The response to the team letter was provided to us by screenshot because the email is encrypted and is
not able to be forwarded on to anyone. The player emailed these screen shots to us.
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